              Case 23-70316-JAD                   Doc 1      Filed 09/14/23 Entered 09/14/23 16:01:23                              Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF PENNSYLVANIA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                LJF, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1223 Parks Road
                                  Irvona, PA 16656
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Clearfield                                                      Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    LJF, Inc.                                                                                     Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                     The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                      noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                   $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                              operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                                exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                  The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                  debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a                          Western District of
     separate list.                               District   Pennsylvania                  When       5/15/20                    Case number    20-70248-JAD
                                                  District                                 When                                  Case number




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Debtor    LJF, Inc.                                                                                       Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

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         Name

                         $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                         $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                         $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




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Debtor    LJF, Inc.                                                                                Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      September 14, 2023
                                                  MM / DD / YYYY


                             X /s/ Leo C. Frailey                                                         Leo C. Frailey
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X /s/ David Z. Valencik                                                       Date September 14, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 David Z. Valencik
                                 Printed name

                                 Calaiaro Valencik
                                 Firm name

                                 938 Penn Avenue, 5th Fl.
                                 Suite 501
                                 Pittsburgh, PA 15222
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     412-232-0930                  Email address      dvalencik@c-vlaw.com

                                 308361 PA
                                 Bar number and State




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 Fill in this information to identify the case:
 Debtor name LJF, Inc.
 United States Bankruptcy Court for the: WESTERN DISTRICT OF                                                                                 Check if this is an
                                                PENNSYLVANIA
 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Bestpass Inc.                                       Tolls                                                                                                     $248,613.65
 P.O. Box 786587
 Philadelphia, PA
 19178
 Bluevine Capital Inc.                               MCA                                                                                                       $142,626.66
 401 Warren St., #300
 Redwood City, CA
 94063
 Bridge Funding Cap                                  MCA                                                                                                         $76,937.00
 LLC
 5308 13th Ave.,
 Suite 324
 Brooklyn, NY 11219
 Caterpillar Financial                               Caterpillar 930K          Contingent                  $397,051.70               $294,000.00               $103,051.70
 Services Corp                                       CAT Loader
 2120 West End Ave.                                  Caterpillar 299
 Nashville, TN 37203                                 Track Loader
                                                     CAT 420 Backhoe
 Clearstone Fund                                     MCA                                                                                                       $147,500.00
 LLC
 80 W Sunrise Hwy,
 #1096
 Valley Stream, NY
 11581
 Clover Advance                                      MCA                                                                                                         $41,972.00
 Group LLC

 EIN Cap                                             MCA                                                                                                         $73,764.84
 160 Pearl St.,5th
 Floor
 New York, NY 10005
 Glassmere Fuel                                      MCA                                                                                                       $170,493.85
 Services
 P.O. Box 187
 Curtisville, PA 15032




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
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 Debtor    LJF, Inc.                                                                                 Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Global Funding                                      MCA                                                                                                       $752,504.91
 Experts (GFE NY,
 LLC)
 27-01 Queens Plaza
 North
 Long Island City, NY
 11101
 Good Tire Service                                   Tires                                                                                                       $36,730.60
 2632 Carson Hill
 Road
 Du Bois, PA 15801
 Hunter Truck Sales                                  Parts/equipment                                                                                           $271,722.00
 101 E Main Street
 Eau Claire, PA
 16030
 Karish Kapital LLC                                  MCA                                                                                                       $149,909.00
 7522 137th St.
 Flushing, NY 11367
 KF Holdings, LP                                     DIP Loan                                                                                                  $928,964.00
 6512 Admiral Peary
 Hwy
 Loretto, PA 15940
 Marion Center Bank                                  1995 Peterbilt                                        $528,287.97               $155,000.00               $373,287.97
 1271 Indian Springs                                 Tractor/1XP5DB9X
 Road                                                8SN372647
 Indiana, PA 15701                                   1999 Peterbilt
                                                     Tractor/1XP5DB9X
                                                     0XN498766
                                                     2007 Peterbilt
                                                     Tractor/1XPFDB9
                                                     X37N639155
                                                     1997 Peterbilt
                                                     Tractor/1
 Pilot Travel Centers,                               Fuel                                                                                                      $112,238.98
 LLC
 5500 Lonas
 Drive,Suite 260
 Knoxville, TN 37909
 RBLX Funding                                        MCA                                                                                                         $62,088.00
 c/o Erica R.
 Gilerman, Esquire
 515 Madison Ave.,
 Suite #8108
 New York, NY 10022




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 Debtor    LJF, Inc.                                                                                 Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Roaring Run                                         2000 Peterbilt   Contingent                           $752,471.52               $286,000.00               $466,471.52
 P.O. Box 368                                        Tractor/1XP5DB9X
 Bigler, PA 16825                                    1YD504050
                                                     1999 Peterbilt
                                                     Tractor/1XPFDB9
                                                     X5XD490866
                                                     1999 Peterbilt
                                                     Tractor/1XPFDB9
                                                     X2XN507987
                                                     1999 Peterbilt
                                                     Tractor/1
 SPG Advance                                         MCA                                                                                                         $53,776.82
 1221 McDonald Ave.
 Brooklyn, NY 11230
 US Bank Equipment                                   GPS, ELD                                               $44,095.09                        $0.00              $44,095.09
 Finance                                             Equipment
 1310 Madrid St.,
 Suite 101
 Marshall, MN 56258
 World Global                                        MCA                                                                                                         $36,572.60
 116 Nassau Street
 804
 New York, NY 10038




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3
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                                         United States Bankruptcy Court
                                            Western District of Pennsylvania
 In re   LJF, Inc.                                                                    Case No.
                                                             Debtor(s)                Chapter    11




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for LJF, Inc. in the above captioned action, certifies that the following is a (are)
corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class of
the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
Leo Frailey
1223 Parks Road
Irvona, PA 16656




  None [Check if applicable]




September 14, 2023                              /s/ David Z. Valencik
Date                                            David Z. Valencik
                                                Signature of Attorney or Litigant
                                                Counsel for LJF, Inc.
                                                Calaiaro Valencik
                                                938 Penn Avenue, 5th Fl.
                                                Suite 501
                                                Pittsburgh, PA 15222
                                                412-232-0930 Fax:412-232-3858
                                                dvalencik@c-vlaw.com
